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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                    CIVIL MINUTES—GENERAL

 Case No.      CV 19-7934-DMG (SSx)                                               Date     September 16, 2020

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 Present: The Honorable          DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                KANE TIEN                                                        NOT REPORTED
                Deputy Clerk                                                      Court Reporter

     Attorneys Present for Plaintiff(s)                                 Attorneys Present for Defendant(s)
              None Present                                                        None Present

 Proceedings: IN CHAMBERS—ORDER RE DEFENDANTS’ MOTION TO STRIKE [25]

         On September 12, 2019, Plaintiff Arya Toufanian filed a Complaint against Defendants
 Kyle Oreffice and Give Back Media, LLC (“GBM”) asserting the following causes of action:
 (1) libel per se; (2) libel per quod; and (3) violation of California’s Unfair Competition Law
 (“UCL”). [Doc. # 1.] On June 25, 2020, Defendants filed a Motion to Strike (“MTS”) Plaintiff’s
 Complaint in its entirety under California’s statute restricting Strategic Lawsuits Against Public
 Participation, California Civil Procedure Code section 425.16 (“anti-SLAPP statute”). [Doc.
 # 25.] On June 30, 2020, Plaintiff filed his Objections to Defendants’ Evidence in Support of
 MTS. [Doc. # 27.]1 On July 2, 2020, Plaintiff filed his Opposition to the MTS. [Doc. # 26]. On
 July 9, 2020, Defendants filed a Reply. [Doc. # 28.]

         For the reasons set forth below, Defendants’ MTS is DENIED.

                                                I.
                                       FACTUAL BACKGROUND2

        Plaintiff is a California citizen engaged in the business of providing stock trading
 information to individual and business customers. Compl. at ¶¶ 1, 10. Defendant Oreffice is a
 Georgia citizen and sole owner of GBM. Id. at ¶ 5. Defendants are “in the business of providing

         1
           To the extent that Plaintiff objects to Defendants’ evidence in their MTS, those objections are overruled
 as moot because the Court does not rely on the objected-to evidence for the purpose of determining the MTS.
         2
           The parties agree that this anti-SLAPP MTS should be evaluated under the standard of Federal Rule of
 Civil Procedure 12(b)(6). MTS at 8 n.1; Opp. at 17; see I Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med.
 Progress, 890 F.3d 828, 833 (9th Cir. 2018) (describing the federal procedures applied in anti-SLAPP suits). The
 Court thus assumes the truth of the Complaint’s factual allegations solely for the purpose of deciding Defendants’
 MTS.

       Because it does not rely on any of the documents of which Defendants request judicial notice, the Court
 DENIES as moot Defendants’ request. See Request for Judicial Notice (“RJN”), Ex. 1–11 [Doc. # 25-10].

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 information relating to the purchase and sale of equities” via the website they own and operate,
 www.quantumstocktrading.com (the “Website”).3 Id. at ¶ 11. Plaintiff alleges that on or around
 July 10, 2019, Defendants called Plaintiff a “scammer” and “The Douche of Wall Street” on the
 Website and social media. See id. at ¶¶ 10–11, 13–14.

      Some excerpts of the publication on the Website entitled “The Douche of Wall Street:
 How Arya Toufanian Scams Innocent Investors” include:

             “The owner of I’m Shmacked, Arya Toufanian, is certainly proficient at taking
              money from people over the internet through elaborate, hyped-up schemes”;
             “Not only did Arya scam his ‘students’ by charging them thousands to set up a
              Shopify store (something anyone can do for free in less than 5 minutes), he went
              astep further by creating a pyramid scheme of scams in which his students
              (unbeknownst to them) were effectively scamming even more people!”
             “Thinking like a real scammer, Arya decided to enter into the stock advice space with
              his @aryastocks program (formerly @stocks), in which he uses the influence of his
              I’m Shmacked account to pedal [sic] his ‘exclusive’ stock advice. The story of these
              scammy trading servers is long and illustrious. We owe it to the public to expose
              these elaborate schemes such as this, and have created our program Quantum Stocks
              with the goal of providing real, time-relevant, valuable trading information to our
              members. Arya is currently charging brand-new, unsuspecting investors up to $500
              (previously up to $1000+) for access to a Discord [online communications] server
              with virtually zero activity, with promises of stock scanners and helpful admins that
              are virtually non-existent. Each package, regardless of price, gets you access to the
              same chat room… yep, you read that right: the $500 package is IDENTICAL to the
              $60 option. Furthermore, he has stolen content from free Discord servers and posted
              it in his paid Discord. The real icing on the cake, however, is the fact that he claims
              these are one-time charges – which numerous, numerous members have verified to be
              entirely false, proving that Arya is unresponsive to even the most basic of
              skepticisms.”

 Id. at ¶ 13; see also Compl., Ex. A.


           3
             Although the Complaint describes Oreffice as “an owner” of GBM and not the sole owner, GBM’s Notice
 of Interested Parties describes Oreffice as the sole owner. [Doc. # 20.] The Court is thus satisfied that GBM is a
 citizen of Georgia and that it has diversity jurisdiction over this matter. See Johnson v. Columbia Props. Advantage,
 LP, 437 F.3d 894, 899 (9th Cir. 2006) (holding that a limited liability company is a citizen of every state in which its
 owners or members are citizens).

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                                                 II.
                                          LEGAL STANDARD

         California’s anti-SLAPP statute “permits a defendant to pursue early dismissal of
 meritless lawsuits arising from conduct by the defendant in furtherance of the right of petition or
 free speech.” Greater L.A. Agency on Deafness, Inc. v. Cable News Network, 742 F.3d 414, 419
 (9th Cir. 2014); Cal. Civ. Proc. Code § 425.16. Resolution of an anti-SLAPP motion calls for a
 two-step procedure. Jarrow Formulas, Inc. v. LaMarche, 31 Cal. 4th 728, 733 (2003). First, the
 defendant must show that the challenged action arises from protected activity—i.e., “the act or
 acts of which the plaintiff complains were taken ‘in furtherance of the [defendant]’s right of
 petition or free speech under the United States or California Constitution in connection with a
 public issue[.]’” See id. (quoting Cal. Civ. Proc. Code § 425.16(b)(1)). If the court determines
 that the plaintiff seeks relief “based on allegations arising from activity protected by the statute,
 the second step is reached.” Baral v. Schnitt, 1 Cal. 5th 376, 396 (2016). The second step
 requires the plaintiff to demonstrate a probability of prevailing on his or her claims. LaMarche,
 31 Cal. 4th at 733; Navellier v. Sletten, 29 Cal. 4th 82, 88–89 (2002) (“[T]he plaintiff must
 demonstrate that the complaint is both legally sufficient and supported by a sufficient prima facie
 showing of facts to sustain a favorable judgment if the evidence submitted by the plaintiff is
 credited.”) (internal quotations omitted).
                                                   III.
                                               DISCUSSION

         Defendants argue that their allegedly defamatory and unfair statements meet the first step
 of the anti-SLAPP inquiry because the statements were made to warn consumers about
 Plaintiff’s fraudulent or deceptive business practices. See MTS at 14–17.4 Under California law,
 “fraudulent or deceptive business practices constitute a topic of widespread public interest, so
 long as they are provided in the context of information helpful to consumers.” Makaeff, 715
 F.3d at 263. Here, Defendants’ statements warned consumers regarding Plaintiff’s “practice of
 charging up-front fees to his customers for his services, failing to provide any services, and then
 refusing to pay back any funds when asked for refunds.” MTS at 17; see also Compl., Ex. A.




         4
            All page references herein are to page numbers inserted in the header of the document by the CM/ECF
 filing system.

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         Plaintiff argues, however, that the statements fall within the commercial speech
 exemption to the anti-SLAPP law. See Simpson Strong-Tie Co. v. Gore, 49 Cal. 4th 12, 26
 (2010). If a plaintiff demonstrates that his claims fall within the commercial speech exemption,
 the anti-SLAPP analysis ends. Demetriades v. Yelp, Inc., 228 Cal.App.4th 294, 305 fn.8 (2014).

         The anti-SLAPP statute does not apply to any cause of action brought against a person
 primarily engaged in the business of selling or leasing goods or services, including, but not
 limited to, insurance, securities, or financial instruments, arising from any statement or conduct
 by that person if both of the following conditions exist:

         (1) The statement or conduct consists of representations of fact about that
         person’s or a business competitor’s business operations, goods, or services, that is
         made for the purpose of obtaining approval for, promoting, or securing sales or
         leases of, or commercial transactions in, the person’s goods or services, or the
         statement or conduct was made in the course of delivering the person's goods or
         services.

         (2) The intended audience is an actual or potential buyer or customer, or a person
         likely to repeat the statement to, or otherwise influence, an actual or potential
         buyer or customer, or the statement or conduct arose out of or within the context
         of a regulatory approval process, proceeding, or investigation, except where the
         statement or conduct was made by a telephone corporation in the course of a
         proceeding before the California Public Utilities Commission and is the subject of
         a lawsuit brought by a competitor, notwithstanding that the conduct or statement
         concerns an important public issue.

 Cal. Civ. Proc. Code § 425.17.

        Plaintiff asserts that each element is met because (1) Defendants are engaged in selling
 investment and business advice, (2) Plaintiff is a direct competitor and his causes of action arise
 from statements Defendants made about Plaintiff’s business operations and services, (3) the
 statements were meant to promote or secure sales of Defendants’ products, and (4) the intended
 audience is an actual customers and buyers of Defendant’s and Plaintiff’s investment and
 business advice. Opp. at 21.

         Defendant does not respond directly to Plaintiff’s arguments, instead incorrectly arguing
 that the anti-SLAPP commercial exemption is aimed at false advertising cases, not defamation
 cases. Reply at 2. The commercial exemption requires case by case analysis of the factors set
 forth in the Section 425.17(c). A key inquiry is whether “the cause of action arises from a

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 statement or conduct by that person consisting of representations of fact about that person’s or a
 business competitor’s business operations, goods, or services.” Simpson Strong-Tie Co., 49 Cal.
 4th at 30; see also Hawran v. Hixson, 209 Cal. App. 4th 256, 272 (2012) (finding the relevant
 issue to be whether the allegedly defamatory portions of the defendant’s statements were
 representations of fact about its services).

         Here, there is no doubt that Defendants’ allegedly defamatory statements directly criticize
 Plaintiff’s business practices, especially his failure to give stock advice to paying customers on
 his Discord server. Compl. at ¶ 13. Moreover, sandwiched in between purportedly factual
 statements about Plaintiff’s business practice is Defendants’ business pitch for its own services:
 “We owe it to the public to expose these elaborate schemes such as this, and have created our
 program Quantum Stocks with the goal of providing real, time-relevant, valuable trading
 information to our members.” Id. The rest of the article on the Website contains even more
 statements indicating competition between Plaintiff and Defendants for the same customers, and
 that Defendants are using statements about Plaintiff to draw customers. For example, the article
 states, “For those of you who have been scammed by Arya, we created a guide on how to get
 your money back, which we offer for free in our Discord server as well, and have helped
 countless people recover the funds that were stolen from them.” Compl., Ex A.

         The California legislature intended to exempt “purely commercial” disputes from anti-
 SLAPP coverage, and Plaintiff has met his burden to show that his defamation and UCL claims
 against Defendants are brought based on Defendants’ commercial speech. Taheri Law Grp. v.
 Evans, 160 Cal. App. 4th 482, 491 (2008). Thus, despite their potential public value to
 consumers, Defendants’ statements are exempted from the anti-SLAPP statute’s coverage, and
 their anti-SLAPP motion fails.

                                             IV.
                                         CONCLUSION

         For the foregoing reasons, Defendants’ anti-SLAPP MTS is DENIED. Defendants shall
 respond to the Complaint according to Federal Rule of Civil Procedure 12 within 21 days of the
 date of this Order.

 IT IS SO ORDERED.




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